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                               No. 23-10640-J
                  UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT


                          BRADLEY SANDERS, ET AL.

                                                  Plaintiffs-Appellants
                                          v.

                      AJANTA PHARMA USA, INC., ET AL.

                                                Defendants-Appellees



                On Appeal from the United States District Court
                     for the Southern District of Florida

                 RESPONSE TO THE COURT’S ORDER

                                          Ashley Keller
                                          KELLER POSTMAN LLC
                                          150 N. Riverside Plaza, Suite 4100
                                          Chicago, IL 60606
                                          Tel: (312) 741-5222

                                          Noah Heinz
                                          KELLER POSTMAN LLC
                                          1100 Vermont Ave., N.W., Fl. 12
                                          Washington, DC 20005
                                          Tel: (202) 918-1841


April 4, 2023                          Counsel for Plaintiffs-Appellants
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                Bradley Sanders v. Ajanta Pharma USA, Inc., et al.
                           RECORD NO. 23-10640-J

                   CERTIFICATE OF INTERESTED PERSONS


      Pursuant to Eleventh Circuit Rule 26.1-1, counsel for Plaintiffs-Appellants

hereby certifies that the previously filed Certificate remains correct.

 Dated: April 4, 2023                        /s/ Ashley Keller
                                             Ashley Keller
                                             Counsel for Plaintiffs-Appellants




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                     RESPONSE TO THE COURT’S ORDER

      The Court asked the parties to brief whether every plaintiff and defendant

must appear on the docket for this appeal, and how it should address the Par

Pharmaceuticals bankruptcy, given that it is named in one of the Rule 54(b)

judgments on appeal.

      On the first question, Plaintiffs’ position is “no,” every plaintiff and defendant

need not appear on the docket.

      On the second question, Plaintiffs submit that the automatic stay only affects

Par, not any of its codefendants, see Queenie, Ltd. v. Nygard Int’l, 321 F.3d 282 (2d

Cir. 2003), and so Par’s bankruptcy is no obstacle to setting a briefing schedule as

to every other Appellee.

      To make things even simpler, Plaintiffs—with Par’s consent—have moved to

dismiss Par from every appeal in which it was named in the complaint. See Dkt. 68.

Once this Court dismisses Par from the appeal, the automatic stay will be entirely

inoperative. Par was named in the underlying complaint for only a handful of cases,

and in every case so far examined, Par was named inadvertently.

      However, given the large number of cases that continue to be filed and

appealed, Plaintiffs anticipate filing additional motions to dismiss Par from other

cases in which they are later identified as a party. These cases continue to be filed

due to the end of a tolling agreement, and the district court’s choice to enter judgment


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that applies to newly filed cases.     Some background may assist the Court in

understanding these appeals.

      These appeals and the appeals docketed as Chandler v. Glenmark

Pharmaceuticals, Inc. USA, No. 21-12618 (11th Cir. 2021) and at Abdoo v.

Glenmark Pharmaceuticals, Inc. USA, No. 21-14325 (11th Cir. 2021) largely

present the same issues. In those cases, “motions to consolidate [we]re HELD IN

ABEYANCE” since March, 2022, pending this Court’s resolution of motions to

dismiss directed to some—but not all—appeals. Chandler, Dkt. 257; Abdoo, Dkt.

108 (same). They remain held in abeyance. Appellants in Sanders welcome the

Court to apply its ultimate order on consolidation to these appeals as well, with any

modifications it deems fit to ensure the appeals proceed in an orderly fashion. The

difference between the Sanders appeals and the Abdoo/Chandler appeals lies in

when a notice of appeal was filed.

      The Sanders appeals arise from two Rule 54(b) judgments. After dismissing

every claim against every Generic Manufacturer Defendant (collectively,

“Generics”), Distributor Defendant, and Retailer Defendant, in November 2021, the

district court entered two Rule 54(b) judgments. The first was in favor of the

Generics on all claims. D.E. 4664. The second was in favor of the Distributors and

Retailers on all claims except negligent storage and handling (because someone,




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someday, might wish to bring an individualized negligence claim). D.E. 4665; see

also D.E. 4595 at 35 (explaining these judgments).

       Many plaintiffs appealed, all of which are in either the Abdoo or Chandler

appeals (for which there is a pending motion to consolidate). In the meantime,

different plaintiffs and the Brand Defendants litigated whether five specific cancers

are in fact caused by Zantac. After extensive post-Rule-12 discovery that Retailers,

Distributors, and Generics did not participate in, both sides presented more than a

dozen experts, each of which produced multiple reports and sat for many hours of

depositions. Following a court-imposed briefing schedule, Brand Defendants alone

filed Daubert and summary judgment motions on June 13, 2022. E.g., D.E. 5697

(summary judgment).        The district court ultimately excluded plaintiffs’ expert

witnesses and granted summary judgment to the Brands. D.E. 6120.1

       The Daubert ruling triggered the end of a tolling agreement. With tolling

ending imminently, thousands of plaintiffs filed suit.        But, notwithstanding

considerable due process problems Plaintiffs’ Leadership had noted with this

approach—the district court’s 2021 Rule 54(b) judgments went into effect for newly

filed cases immediately:



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  Those plaintiffs plan to appeal the district court’s orders granting the Brand
Defendants’ Daubert challenge and entering summary judgment. But this has not
yet happened because the district court has delayed entry of final judgment. See
D.E. 6303.
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             For Mixed-Generic cases filed after the date of this Order
             but which incorporate claims from the MPIC (against
             Generic Manufacturer or Repackager Defendants) or
             AMPIC (against Generic Manufacturer Defendants),
             judgment shall be effective as of the date that an individual
             Plaintiff files such a Short Form Complaint.
D.E. 4664 at 5 (emphasis added).        The Rule 54(b) judgment in favor of the

Distributors and Retailers was not as clear, but Plaintiffs reasonably presumed the

district court intended the same result and were forced to be conservative in filing a

notice of appeal since failing to do so would erect a jurisdictional bar.

      The Rule 54(b) judgments set up a ticking time bomb, forcing many thousands

of plaintiffs to file their case and then immediately appeal as to Generics,

Distributors, or Retailers (but not as to Brands, since judgment has not yet been

entered in their favor for administrative reasons). These cases will continue to be

filed and to be appealed for additional weeks or months.

      Should any new case name Par, Plaintiffs plan to file a new motion to dismiss

Par from the newly filed appeal so that the automatic stay does not apply.




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                       CERTIFICATE OF COMPLIANCE

      This document complies with the typeface requirements of Fed. R. App. P.

27(d)(1)(E) because it has been prepared in a proportionately spaced typeface

using Times New Roman 14-point font.




Dated: April 4, 2023                       /s/ Ashley Keller
                                           Ashley Keller
                                           Counsel for Plaintiffs-Appellants




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                        CERTIFICATE OF SERVICE

      On April 4, 2023, I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Eleventh Circuit by using the

CM/ECF system. All participants in this case are registered CM/ECF users, and

service will be accomplished by the CM/ECF system.



      Dated: April 4, 2023

                                                /s/ Ashley Keller
                                                Ashley Keller
                                                Counsel for Plaintiffs-Appellants




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